                  Case 17-11292-BLS             Doc 928        Filed 03/01/18       Page 1 of 1




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                              Chapter 11

     CST INDUSTRIES HOLDINGS INC., et al.,                          Case No. 17-11292 (BLS)

              Debtors.1                                             (Jointly Administered)


     NOTICE OF WITHDRAWAL AND REQUEST FOR REMOVAL FROM SERVICE LIST

          PLEASE TAKE NOTICE that Christopher A. Ward and Andrew J. Nazar of Polsinelli PC

 hereby withdraw their appearance as counsel to Biodome Asia SDN BHD in the above-captioned

 case and request that they be removed from the CM-ECF noticing list and any other service list in

 this case.

 Dated: March 1, 2018                                  POLSINELLI PC
        Wilmington, Delaware
                                                       /s/ Christopher A. Ward
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                                                       -and-

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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ federal tax identification
 number are: CST industries Holdings Inc. (4872), CST Industries, Inc. (9554), and CST Power & Construction, Inc.
 (9480). The Debtors’ headquarters are located at: 903 E. 104th Street, Suite 900, Kansas City, Missouri 64131.




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